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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
                                      Plaintiff,   §
                                                   §    Criminal No. 3:07-CR-012-D
VS.                                                §
                                                   §
KIMBERLY LAYNE JOHNSON (1),                        §
                                                   §
                                   Defendant.      §


                                             ORDER



       Defendant’s July 13, 2020 motion to withdraw as counsel—which is unopposed by

government counsel and defendant Kimberly Lane Johnson—is granted. Katherine L. Reed,

Esquire is terminated from further representation of defendant.


       SO ORDERED.

       July 14, 2020.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE
